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                     11 COUNTY SHERIFF’S DEPARTMENT and
                        SAN DIEGO COUNTY PROBATION
                     12 DEPARTMENT
                     13                        UNITED STATES DISTRICT COURT
                     14                       SOUTHERN DISTRICT OF CALIFORNIA
                     15
                     16 DARRYL DUNSMORE, ANDREE                   Case No. 3:20-cv-00406-AJB-DDL
                        ANDRADE, ERNEST ARCHULETA,
                     17 JAMES CLARK, ANTHONY                      DEFENDANTS’ EX PARTE
                        EDWARDS, REANNA LEVY, JOSUE               APPLICATION TO CONTINUE
                     18 LOPEZ, CHRISTOPHER NORWOOD,               PRETRIAL DEADLINES AND
                        JESSE OLIVARES, GUSTAVO                   PRETRIAL CONFERENCE UNTIL
                     19 SEPULVEDA, MICHAEL TAYLOR,                30 DAYS AFTER A WRITTEN
                        and LAURA ZOERNER, on behalf of           DECISION ON THE PENDING
                     20 themselves and all others similarly       SUMMARY JUDGMENT MOTION
                        situated,                                 IS ISSUED; OR IN THE
                     21                                           ALTERNATIVE TO STAY
                                    Plaintiffs,                   PRETRIAL DATES PENDING A
                     22                                           DECISION ON THE MOTION
                               v.
                     23                                           Filed concurrently with Declaration of
                        SAN DIEGO COUNTY SHERIFF’S                Susan E. Coleman, and [Proposed]
                     24 DEPARTMENT, COUNTY OF SAN                 Order
                        DIEGO, SAN DIEGO COUNTY
                     25 PROBATION DEPARTMENT, and                 [NO ORAL ARGUMENT
                        DOES 1 to 20, inclusive,                  REQUESTED]
                     26
                                    Defendants.                   Judge: Anthony J. Battaglia
                     27
                     28 ///
B URKE , W ILLIAMS &
   S ORENS EN , LLP
                          4904-0612-5350 v1
                                                                 1                 Case No. 3:20-cv-00406-AJB-DDL
  ATTO RNEY S AT LAW                                                    DEFENDANTS' EPA TO CONTINUE OR STAY
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                       1 I.         INTRODUCTION
                       2            Defendants County of San Diego, San Diego County Sheriff’s Department,
                       3 and San Diego County Probation Department, as more fully set forth in the
                       4 accompanying declaration of Susan Coleman, respectfully request this Court to
                       5 continue the Pretrial Conference and related pre-trial deadlines to 30 days after a
                       6 written decision on the pending Motion for Summary Judgment and/or Adjudication
                       7 [Dkt. 782] is issued, or in the alternative to Stay the pretrial dates/deadlines pending
                       8 a decision on the motion and to re-set them thereafter.
                       9            This modification of pretrial dates will allow the Parties to know the causes of
                   10 action that will proceed to trial before prepping pretrial documents. This Court has
                   11 inherent power to control the disposition of the causes on its docket with economy
                   12 of time and effort for itself, for counsel, and for litigants, including the power to stay
                   13 proceedings. Landis v. North American Co., 299 U.S. 248, 254 (1936). Moving
                   14 pretrial documents, pretrial meet and confer, and the Pretrial Conference to a date
                   15 after the summary judgment motion is decided will be more efficient – and effective
                   16 – for both the litigants and the court.
                   17 II.           THE PARTIES MET AND CONFERRED
                   18               The parties have met and conferred. Defense counsel Susan Coleman
                   19 conferred in person with Plaintiffs’ counsel Gay Grunfeld following a Settlement
                   20 Conference held on this case on March 7, 2025, about pushing back the pretrial
                   21 dates so that a ruling on the Summary Judgment motion could be obtained first
                   22 before prepping pretrial documents. (Coleman Decl. 9.) Defense counsel also
                   23 referenced the ongoing settlement efforts, and noted that if settlement were to be
                   24 pursued, it should be the focus rather than also prepping for trial simultaneously.
                   25 Ms. Grunfeld declined to agree to any continuance and stated that they were already
                   26 working on pretrial documents. (Id.)
                   27 ///
                   28 ///
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   S ORENS EN , LLP
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  ATTO RNEY S AT LAW                                                           DEFENDANTS' EPA TO CONTINUE OR STAY
     CAMARILLO                                                                 PRE-TRIAL FILINGS PENDING MSJ RULING
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                       1 III.   LEGAL STANDARD
                       2        Whether to grant or deny a continuance is within the broad discretion of the
                       3 district court. United States v. Kloehn, 620 F.3d 1122, 1126 (9th Cir. 2010). In
                       4 deciding whether to grant the request for a continuance, the court is guided by the
                       5 four factor inquiry set forth in United States v. Flynt, 756 F.2d 1352, 1357 (9th Cir.
                       6 1985). Kloehn, 620 F.3d at 1127. The court is to consider the extent of the diligence
                       7 of the party in preparing for the hearing or trial; how likely the need for the
                       8 continuance will be achieved by granting it; the extent to which the continuance
                       9 inconveniences the court and opposing party, including witnesses; and the prejudice
                   10 to the party if the continuance is denied. Kloehn, 620 F.3d at 1127; Flynt, 756 F.2d
                   11 at 1357; see Danjaq LLC v. Sony Corp., 263 F.3d 942, 961 (9th Cir. 2001) (applying
                   12 four party test to civil action).
                   13 IV.       GOOD CAUSE EXISTS TO CONTINUE PRETRIAL DATES
                   14           In this case, good cause exists for a continuance or stay of the Pretrial
                   15 Conference date and the pretrial filing deadlines. Both Defendants’ Motion for
                   16 Summary Judgment and Plaintiffs’ Daubert Motion to exclude opinions of
                   17 defendants’ experts are set for hearing on March 27, 2025; however, Pretrial
                   18 documents are due before that date. Memorandums of Contentions of Fact and Law
                   19 are due on March 12, 2025, two full weeks before the motions will even be heard –
                   20 and a written Order may issue well after the March 27th hearing on the motions.
                   21 Pretrial Disclosures – listing all witnesses and exhibits for trial - are also due at the
                   22 same time (March 12). Plaintiffs’ counsel is to provide the defense with their
                   23 Proposed Pretrial Order by March 27, 2025, with the meet and confer to be held at
                   24 the latest by March 20, 2025, a week before the motion hearing.
                   25           It would be more efficient and economical – and potentially require much less
                   26 time – to prepare pretrial documents after learning which causes of action remain for
                   27 trial. Defendants moved for summary judgment on all but one cause of action, and
              28 are hopeful they will prevail on some claims.
B URKE,W       & 4904-0612-5350 v1
           ILLIAMS
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         , LLP                                             3                           Case No. 3:20-cv-00406-AJB-DDL
  ATTO RNEY S AT LAW                                                        DEFENDANTS' EPA TO CONTINUE OR STAY
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                       1            In this case, there is good cause to continue or stay all pre-trial filings due to
                       2 the pending dispositive motion. Preparing and filing pre-trial papers such as a
                       3 Memo of Contentions of Fact and Law, Exhibit and Witness lists (as required by the
                       4 Pretrial Disclosures), and the Pretrial Conference Order are very time- consuming,
                       5 expensive, and burdensome, when the motion could dispose of some or most claims.
                       6 Additionally, even if not dispositive, the court’s ruling and opinion on the summary
                       7 judgment motion and opposition papers could be instructive to the Parties. For this
                       8 reason, the pretrial deadlines and conference should be either continued or stayed so
                       9 that the ruling may be obtained first. This request is made in good faith and is not
                   10 brought for reasons of delay.
                   11 V.            CONCLUSION
                   12               For the reasons stated herein, it is respectfully requested that this Court
                   13 continue or stay the pretrial deadlines and the pretrial conference pending a written
                   14 ruling on the dispositive motion, in order to have the decision to more effectively
                   15 and efficiently prepare pretrial documents.
                   16
                   17 Dated: March 10, 2025                             BURKE, WILLIAMS & SORENSEN, LLP
                   18
                   19
                                                                        By:         /s Susan E. Coleman
                   20
                                                                              Susan E. Coleman
                   21                                                         Elizabeth M. Pappy
                   22                                                         Attorneys for Defendants
                                                                              COUNTY OF SAN DIEGO, SAN
                   23                                                         DIEGO COUNTY SHERIFF’S
                   24                                                         DEPARTMENT and SAN DIEGO
                                                                              COUNTY PROBATION
                   25                                                         DEPARTMENT
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     CAMARILLO                                                                   PRE-TRIAL FILINGS PENDING MSJ RULING
